                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:07 CR 122-2


UNITED STATES OF AMERICA,                      )
                                               )
Vs.                                            )            ORDER
                                               )
JOHN DAVID HARRISON,                           )
                                               )
                  Defendant.                   )
________________________________________       )


        THIS CAUSE came on to be heard before the undersigned, pursuant to a

motion filed by the defendant, entitled “Motion for Substitution of Collateral and

Reduction in Bond” (#186). At the call of this matter on for hearing, counsel for the

defendant appeared and advised that the defendant could not appear due to a medical

procedure that had performed upon the defendant during the previous week. Upon

inquiry, the court discovered that a fusion of the lumbar vertebra of the defendant had

been performed. The defendant was presently receiving inpatient treatment at Thoms

Rehabilitation Hospital in Asheville, NC. The government did not have any

objections to proceeding in this matter, even though the defendant was absent.



        Findings.

        An Order was entered in this matter by United States District Judge T. S. Ellis

allowing the defendant to be released on terms and conditions of pretrial release. The


      Case 1:07-cr-00122-TSE-WCM Document 198 Filed 08/04/08 Page 1 of 5
terms and conditions required that the defendant execute a $200,000 secured bond

and that the bond be secured by lands that were located in Buncombe County, NC and

owned by the defendant’s wife, Marjorie C. Harrison. In the motion of the defendant,

defendant requests that he be allowed to substitute as security for the bond a dwelling

house owned by the defendant located in North Myrtle Beach, SC. The dwelling

house and real property located in North Myrtle Beach, SC has a fair market value as

of April 14, 2008 of $231,000. There is a first lien upon the property owed to Sun

Trust Bank in the amount of $183,012.80. The reason for the request for the

substitution of collateral was the defendant’s spouse desired to obtain a loan and to

use the real property located in Buncombe County, NC which is her own sole and

separate property as collateral for the loan. The undersigned made an inquiry of Mrs.

Harrison, who was present, and found that Mr. Harrison was hospitalized as

referenced above and that when he had completed his treatment for his lumbar spine

fusion it was contemplated Mr. Harrison would then reenter the hospital for further

treatment for hip replacement. Mrs. Harrison stated she would personally sign an

appearance bond as surety for the appearance of her husband, John David Harrison.

The undersigned made inquiry of Richard Edwards, Assistant United States Attorney,

as to the government’s position in regard to the defendant’s motion. Mr. Edwards

advised that the government did not have any objection to the defendant’s motion.

                                          2


   Case 1:07-cr-00122-TSE-WCM         Document 198      Filed 08/04/08    Page 2 of 5
The undersigned then made further inquiry as to what the government’s opinion was

as to allowing Mrs. Harrison to sign an appearance bond as surety for her husband

without the necessity of a second lien upon the real property located in Myrtle Beach,

SC. Mr. Edwards advised that the government had no objection to that arrangement.



      It is the opinion of the undersigned that the personal promise and obligation of

Marjorie Harrison as surety on the bond is of more value to secure the appearance of

the defendant and reduces the risk of harm to any other person or the community than

the substitution of collateral that has been proposed.

      Based upon the foregoing, the undersigned has determined to enter an order

allowing in part the defendant’s motion, that being the court will allow Marjorie

Harrison to sign an appearance bond as surety for the appearance of the defendant in

the amount of $200,000; but that the court will not lower the bond previously set by

Judge Ellis in the amount of $200,000. The court will further modify the terms and

conditions of pretrial release to remove the requirement of electronic monitoring and

house arrest. This is done in light of the severe medical difficulties being suffered by

the defendant which the undersigned finds reduces the risk of harm to any other

person or the community or the risk of flight on the part of the defendant.




                                           3


   Case 1:07-cr-00122-TSE-WCM        Document 198        Filed 08/04/08   Page 3 of 5
                                      ORDER

      WHEREFORE, IT IS, ORDERED that the motion of the defendant entitled

“Motion for Substitution of Collateral and Reduction in Bond” (#186) is hereby

ALLOWED in part and DENIED in part as set forth below:

      1.     That the Clerk of Court mark the North Carolina Deed of Trust dated 23

January 2008 from Marjorie C. Harrison and husband, John David Harrison to Frank

G. Johns, Clerk of Court as Trustee with the United States Government as beneficiary

Paid and Satisfied in Full;

      2.     That the Register of Deeds of Buncombe County, North Carolina, upon

presentation of a certified copy of this Order and the original of the North Carolina

Deed of Trust recorded at Deed Book 4514, page 1047 marked Paid and Satisfied is

ordered to cancel of record the Deed of Trust recorded at the Office of the Register

of Deeds for Buncombe County, NC at Deed Book 4514, page 1047;

      3.     That Marjorie C. Harrison execute an Amended Appearance Bond

security with her promise and signature the terms and conditions of pretrial release

of her husband, John David Harrison in the amount of $200,000 as surety;

      4.     That the terms and conditions of pretrial release entered in this matter

are hereby ordered modified to release the defendant from the obligation of electronic

monitoring or house arrest.


                                          4


   Case 1:07-cr-00122-TSE-WCM        Document 198     Filed 08/04/08   Page 4 of 5
                                 Signed: August 1, 2008




                                 5
Case 1:07-cr-00122-TSE-WCM   Document 198    Filed 08/04/08   Page 5 of 5
